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PLAINTIFFS ~ DEFENDANTS
| DELUXE TRAVEL SERVICE, INC. | I, FISHER BAUM TRAVEL, INC.

2. KAWALEK, Laurie
3. KAHN, Sharon
4, FISHER, Ron

5. BAUM, Linda

CAUSE

(CITE THE U.S. CIVIL STATUTE UNDER WHICH THE CASE
IS FILED AND WRITE A BRIEF STATEMENT OF CAUSE)

28 U.S.C. Section 1331

 

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ee TRAVEL vs.—¥FT SR RAL OG12 71+ 3—-2-0f-2
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DATE R ¢ Lids’ -CV Gg} D PROCEEDINGS
4/15/87 1 PETITION for removal from Cuyahoga County Common Pleas Court (Case #
102586) (49 p) ee
4/15/87 2 BOND for removal in amount of $250.00 filed. (Aetna Casualty & Surety Co.
4/15/87 3 INITIAL ORDER issued. MANOS, J. (3 p) ee
4/27/87 4 ANSWER of Defts. Fisher Travel, Ron Fisher and Linda Baum to First Amended
Complaint with counterclaim, filed. c/m 4/24/87 (7 p) ee
4/27/87 5 ANSWER of Deft. Laurie Kawalek to First Amended complaint with counterclaim
filed. c/m 4/24/87 (7 p) ee
4/27/87 6 NOTICE of Defts. to take deposition of Fred Lasorella, an employee of PIté,
on 5/20/87 at 10:00 a.m. filed. c/m 4/24/87 (2 p) ee
5/21/87 | 7 REPLY of Pltf. to deft. Fisher Baum Travel, inc's. First Amended CounterClaim,
filed. c/m 5/20/87 (3 p) ee
5/21/87 8 REPLY of Pltf. to Deft. Laurie Kawalke's First Amended Counterclaim, filed.
c/m 5/20/87 (3 p) ee
5/22/87 9 STIPULATION AND ORDER that Pltf. dismisses its action voluntarily without

prejudice at its own cost, filed. MANOS, J. (1 p) Iss: 5/22/87 ee

 

 

 

 

 

 
